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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION
                               www.flsb.uscourts.gov

In re: SCHUTTE, TERRY GRAHAM                             CASE NO. 13-36171-PGH
       XXX-XX-9966                                       CHAPTER 13
       SCHUTTE, CAROLINA TAPIA
       XXX-XX-6890

                   Debtor            /


              MOTION TO MODIFY CONFIRMED SEVENTH MODIFIED
                            CHAPTER 13 PLAN


         COMES NOW THE DEBTORS who moves this Honorable Court to be allowed

to modify the chapter 13 plan post-confirmation. As grounds for this request, the debtors

avers:

         1.      The Debtors filed a voluntary chapter 13 bankruptcy petition on October

                 30, 2013.

         2.      The Debtors’ Seventh Modified plan was confirmed on February 12, 2018.

         3.      The Debtors were paying 100% to unsecured creditors based on their

                 income.

         4.      The Debtors have paid unsecured creditors to date $71,434.96.

         5.      The Debtors liquidation was only $5,298.75.

         6.      The Debtor is 72 years old and is no longer working.

         7.      The Joint Debtor is also not working.

         8.      The only income at the present time is social security income.

         9.      The Debtors are requesting that they be allowed to modify the plan to

                 decrease the monthly payment based on their current income.
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       10.  A fee of $525.00 was charged for this Motion which is reflected in the

               Eighth Modified Plan. An Amended Disclosure of Compensation of

               Attorney for Debtor will be filed contemporaneously with this motion.


       I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida, and am in compliance with the additional

qualifications to practice in this Court set forth in Local Rule 2090-1(A).




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